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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 TRADEWINDS TOWING, LLC,

        Plaintiff,
                                                        Civil Action No. 24-09343 (RK) (TJB)
                V.




 SCHUYLER LINE NAVIGATION                           ORDER DIRECTNG CLERK TO ISSUE
 COMPANY, LLC,                                           PROCESS OF MARITIME
                                                    ATTACHMENT AND GARNISHMENT;
        Defendant,                                  AND APPOINTING PERSON TO SERVE
                                                               PROCESS
 and


 OCEANFIRST BANK, NATIONAL
 ASSOCIATION,

        Garnishee.




       Upon consideration of the Verified Complaint filed by Plaintiff Tradewinds Towing,

LLC ("Plaintiff), verified on September 20, 2024, (ECF No. 1), and the Verification of J.

Stephen Simms, (id.), that there is no record of any general or resident agent authorized to accept


service of process for Defendant Schuyler Line Navigation Company, LLC, in this District for


the purpose of an attachment under Supplemental Admirality B(l) and in support of an order


appointing a special process server, and the Court having found that the conditions required by


Rule B(l) of the Supplemental Rules for Admirality or Maritime Claims and Asset Forfeiture


Actions of the Federal Rules of Civil Procedure exist, and good cause having been shown,


       IT IS on this 24th day of September, ORDERED that:

   1. ORDERED, that the Clerk of this Court is authorized to issue pursuant to Supplemental


       Rule B, as detailed in the Verified Complaint, Process of Maritime Attachment and


       Garnishment for all assets, cash, funds, credits, wire transfers, accounts, letters of credit,
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      electronic fund transfers, freights, sub-freights, charter hire, sub-charter hire, or any other


     tangible and/or intangible assets belonging to, due, claimed by, being held for or on


     behalf of, or being transferred for the benefit of Defendant, including, but not limited to


      any such assets as may be in the possession, custody or control of, or being transferred


     through any gamishee within this District, up to $140,905.54 and as further demanded in


     the Verified Complaint, and said Order being equally applicable with respect to the


     issuance and service of additional writs of maritime attachment and garnishment upon


     any gamishees in this District not named herein, pursuant to Rule B of the Supplemental


     Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil


     Procedure; and it is further,


  2. ORDERED, that any person claiming an interest in the property attached or garnished


     pursuant to said Order shall, upon application to the Court, be entitled to a prompt


     hearing at which the Plaintiff shall be required to show why the garnishment or


     attachment should not be vacated or other relief granted; and it is further,


  3. ORDERED, that supplemental or further writs of maritime attachment and garnishment


     may be issued by the Clerk upon application without further Order of the Court; and it is


     further,


  4. ORDERED, that Marc D. Haefner, or any other person at least 18 years of age and not a


     party to this action, appointed by him be and is hereby appointed to serve the Process of


     Maritime Attachment and Garnishment, and a copy of the Verified Complaint as issued


     in this case; and, it is further,


  5. ORDERED, that following initial service of a writ of maritime attachment and


     garnishment on any Garnishee, supplemental semce of maritime attachment and




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     garnishment writs on that Garnishee and related papers may be made by way of facsimile


     transmission or email to each such Gamishee and, it is further,


  6. ORDERED, that service on any Gamishee as described above is deemed continuous


     throughout the day from the time of such service through the opening of the Gamishee's


     business the next business day; and, it is further,


  7. ORDERED, that pursuant to Federal Rule of Civil Procedure 5(b)(2)(F), each Gamishee

     may consent, in writing, to accept service by any other means; and it is further,


  8. ORDERED, that a copy of this Order be served with each said writ of maritime


     attachment and garnishment; and, it is further,


  9. ORDERED, that to afford an opportunity for an expeditious hearing of any objections


     which might be raised by Defendant, or any Gamishee, a hearing may be set by calling


     the case manager of the undersigned. ^-^' '\
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                                            ROBERT KlRSCH
                                            UNITED STATES DISTRICT JUDGE
